 

' CaSe 1:07-cv3070-SS Document 52 Filed O4ti/08 Page 1 of 3

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APR 25 2008

IN THE UNITED sTATEs DISTRICT coURT CLERK
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CHASE HOME FINANCE LLC
JPMORGAN CHASE BANK, N.A.
J.P. MORGAN CHASE & CO.

and MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.

Plaintiffs, ` l '
CIVIL ACTION NO. l:07-CV-01070-SS
v.

KWI COMMUNICATIONS, LLC D/B/A
KWI HOLDINGS AND D/B/A

KWI LEGAL DEFENSE FUND,
WALTER LEE HALL, JR.,

GINA SANCHEZ and

, TWELVE GATES MINISTRIES,

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Defendants.

-FINAL JUDGMENT

On #!_¢é 3£ , 2008 the Court entered a Default Judgment against

Defendants KWI Communications, LLC d/b/a KWI Holdings and d/b/a KWI Legal Defense
Fund, Gina Sanchez and Twelve Gate Ministries. On M ¢?Z , 2008, the Court
entered an Order Granting Plaintiffs’ Motion for Summary Judgment Against Defendant Walter
Lee Hall, Jr. In accordance with the foregoing Orders, the Court enters this Final Judgment
which incorporates the prior rulings made by the Court. IT IS THEREFORE
ORDERED ADJUDGED and DECREED
a. Defendants Walter Hall, Jr. and KWI Communications LLC and those
acting in concert with either of them shall cease using and are permanently
enjoined from using the names “Chase Home Finance LLC,” “JPMorgan
Chase Bank, National Association,” “Chase,” “MERS”, “Mortgage

Electronic Registration Systems, Inc.” and any colorable imitation thereof
as assumed names or otherwise and are permanently enjoined from using

FINAL JUDGMENT PAGE l

 

 

' CaSe 1:07-cv8070-SS Document 52 Filed 04/6/08 Page 2 of 3

“Chase Home Finance LLC,” “JPMorgan Chase Bank, National
Association,” “Chase,” “Mortgage Electronic Registration Systems, Inc.”
and any colorable imitation thereof as assumed names for KWI or any
other entity associated with KWI or Hall;

b. Defendants Walter Hall, Jr. and KWI Communications LLC and those
acting in concert with either of them are permanently enjoined from
representing to anyone or committing any acts calculated to cause
members of the public to believe that Hall or KWI’s goods or services
have any authority, sponsorship, afiiliation, or any connection with
Plaintiffs or Plaintiffs’ services; and

c. Defendants Walter Hall, Jr. and KWI Communications LLC and those
_ acting in concert with either of them are permanently enjoined from using,
in any manner, the marks or names Chase, Chase Home Finance, Chase
Home Finance LLC, JPMorgan Chase Bank, N.A., MERS, Mortgage
Electronic Registration Systems, Inc., or any other words similar thereto
that may cause, or may be likely to cause, confusion, mistake, or deception
by the public, alone or in combination with any other word or words.

IT IS FURTHER ()RDERED, that 100% fee simple title to the Property located at 908
Smoothing Iron Drive, Pflugerville, TX, more particularly described as

LOT 9, “BLOCK D”, SETI`LER’S MEADOW SECTION THREE, A SUBDIVISION

IN TRAVIS COUNTY, TEXAS ACCORDING TO THE MAP OR PLAT OF RECORD

IN DOCUMENT NUMBER 200000241 OF THE OFFICIAL PUBLIC RECORDS OF
TRAVIS COUNTY, TEXAS.

is vested in Chase Home Finance LLC by virtue of the Substitute Trustee’s Deed executed
August 7, 2007 and recorded as Travis County Instrument No. 2007152188 in the Official Public
R'ecords of Travis County, Texas,; IT IS FURTHER

ORDERED the Special Warranty Deed signed August 17, 2007 and recorded on
August 20, 2007 as Travis County Instrument No. 2007154856 in the Offlcial Public Records of
Travis County, Texas, was not signed by Chase Home Finance LLC, is a forgery and is without
effect and is void; IT Is FURTHER

Ordered the Warranty Deed signed October 1, 2007 and recorded OCtober 2, 2007 as

Travis County Instrument No. 20071 83 598 is without effect and is void because no valid interest

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‘ CaSe 1:07-CV‘O7O-SS' Document 52 Filed 04/6/08' Page 3 of 3

in the Property was held by Twelve Gates Ministries on the date the Warranty Deed was signed;
IT IS FURTHER y

ORDERED, the Release of Lien purported executed on June 5, 2007, by Hall on behalf
of MERS and recorded as Travis County Instrument No. 2007101667in the Official Public
Records of Travis County, Texas, is a forgery and is without effect and is void; IT IS PURTHER

ORDERED, Defendants Walter Lee Hall, Jr. and KWI Communications LLC are jointly
and severally liable to Chase Home Finance LLC in the amount of $10,000 and to Mortgage
Electronic Registration Systems, Inc. in the amount of $10,000; IT IS FURTHER

ORDERED, Plaintiffs Chase Home Finance LLC and Mo`rtgage Electronic Registration
Systerns, Inc. shall recover attorney’s fees in the amount of $19,005.27 nom Walter Lee Hall, Jr. 1
and KWI Communications LLC; IT IS FURTHER v

ORDERED, Plaintiffs Chase Home Finance LLC and Mortgage Electronic Registration
Systems, Inc. shall recover exemplary damages in the amount of $ /ol 000;: from Walter
Lee Hall, Jr.; IT IS FURTHER

ORDERED, Defendants shall pay all taxable costs incurred by Plaintiffs in prosecuting
this case.

All relief not expressly granted herein is denied such that this is a Final Judgment

disposing of all claims and all parties

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sIGNED THis 24 DAY 0F M ,2008.

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FlNAL JUDGMENT PAGE 3

 

